Case: 4:97-cr-00141-ERW Doc. #: 653 Filed: 10/13/05 Page: 1 of 2 PagelD #: 79

UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT
THOMAS F. EAGLETON COURT HOUSE

avy ROOM 24.329 VOICE (314) 244-2400
MICHAEL E. GANS ~eN be 4111S. 10TH STREET FAX (314) 244-2780
Clerk of Court Re ST. LOUIS, MISSOURI 63102 www.ca8.uscourts.gov
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Mr. James G. Woodward

Clerk

U.S. DISTRICT COURT, EASTERN MISSOURI
111 S. Tenth Street

St. Louis, MO 63102

Re: 98-2549 United States vs. Billie Jerome Allen

Dear Clerk:

Enclosed is a copy of a letter from the Supreme Court stating
certiorari has been filed in the referenced case.

(5255-010199)
Sincerely,

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Michael E. Gans
Clerk of Court

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Enclosure

District Court/Agency Case Number(s): 4:97-CR-141(ERW)
Case: 4:97-cr-00141-ERW Doc. #: 653 Filed: 10/13/05 Page: 2 of 2 PagelD #: 80

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

William K. Suter
Clerk of the Court

October 4, 2005 (202) 479-3011
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Clerk
United States Court of Appeals for the Eighth F I L E D
Circuit
Thomas F. Eagleton Courthouse OCT 11 2005
1118S. 10th Street, Rm. 24329 MICHAEL GANS
St. Louis, MO 63102 CLERK OF COURT

Re: Billie Jerome Allen
v. United States
No. 05-6764
(Your No. 98-2549)

Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on
September 29, 2005 and placed on the docket October 4, 2005 as No. 05-6764.

Sincerely,

William K. Suter, Clerk

Heather Trant .

Case Analyst

RECEIVED

OCT 11 2005

COURT OF APPEALS
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